                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
JAMES BEAN                                         )

                                           ORDER

      The sentencing hearing in this case currently scheduled for December 19, 2012, at 1:00 p.m.

is RESCHEDULED for December 19, 2012, at 2:00 p.m.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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